
*306oiunion.
GREEN:
The taxpayer bases its claim for exhaustion, wear, tear, and obsolescence rate of 5 per cent upon an alleged limited useful life of its building. Several witnesses were produced in its behalf, all of whom testified that in their opinion the useful life of the building was limited to ten years, and that at least by that time it would be economically impractical to operate the building. It is clear that the building is far from modern, that it is poorly localed and that the business of the tenants is steadily falling off. It seems to us that the rate of 5 per cent for exhaustion, wear, tear, and obsolescence, as contended for by the taxpayer is, in the light of all the circumstances, reasonable and proper, and we so hold.
Order of redetermination will he entered on 10 days' notice, under Bule 50.
